          Case 22-60043 Document          Filed in TXSB on 05/05/22 Page 1 of 3
                                                                                    United States Bankruptcy Court
                                                                                        Southern District of Texas

                                                                                           ENTERED
                     IN THE UNITED STATES BANKRUPTCY COURT                                 May 03, 2022
                       FOR THE SOUTHERN DISTRICT OF TEXAS                               Nathan Ochsner, Clerk
                                VICTORIA DIVISION

 In re:                                           )   Case No. 22-60020
                                                  )
                                                  )
 INFOW, LLC, et al.,                                  Chapter 11 (Subchapter V)
                                                  )
                                                  )
              Debtors.                                Jointly Administered
                                                  )

              ORDER GRANTING DEBTORS’ MOTION TO EXTEND TIME
                  TO FILE STATEMENT OF FINANCIAL AFFAIRS

            ThH 'HEWRUV PD\ ILOH Statements of Financial Affairs RQRUEHIRUH May 9, 2022. This

Order is without prejudice to the Debtors’ rights to seek any further extensionsfrom this Court.



            August
            May     02, 2019
                03, 2022
                           Case 22-60043 Document                          Filed in TXSB on 05/05/22 Page 2 of 3
                                                              United States Bankruptcy Court
                                                                Southern District of Texas
In re:                                                                                                                 Case No. 22-60020-cml
InfoW, LLC                                                                                                             Chapter 11
IWHealth, LLC
       Debtors
                                                     CERTIFICATE OF NOTICE
District/off: 0541-6                                                  User: ADIuser                                                               Page 1 of 2
Date Rcvd: May 03, 2022                                               Form ID: pdf002                                                            Total Noticed: 7
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on May 05, 2022:
Recip ID                   Recipient Name and Address
db                     +   IWHealth, LLC, 5606 N. Navarro, Ste. 300-W, Victoria, TX 77904-1770
db                     +   InfoW, LLC, 5606 N. Navarro, Ste. 300-W, Victoria, TX 77904-1770
db                     +   Prison Planet TV, LLC, 5606 N. Navarro, Ste. 300-W, Victoria, TX 77904-1770
cr                     +   David Wheeler, et al., c/o Cain & Skarnulis PLLC, 303 Colorado Street, Suite 2850, Austin, TX 78701-4653
intp                   +   Insert Company Name, LLC, 1334 Brittmoore Rd, Ste 1327, Houston, TX 77043-4035
intp                   +   Ray W. Battaglia, Law Offices of Ray Battaglia, PLLC, 66 Granburg Circle, San Antonio, TX 78218-3010
intp                   +   Shelby A Jordan, Jordan & Ortiz PC, 500 N Shoreline Blvd, Ste 900, Corpus Christi, TX 78401-0658

TOTAL: 7

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
cr                             Neil Heslin, et al.
intp                           Nina Khalatova

TOTAL: 2 Undeliverable, 0 Duplicate, 0 Out of date forwarding address


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: May 05, 2022                                            Signature:           /s/Gustava Winters




                                   CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on May 3, 2022 at the address(es) listed below:
Name                               Email Address
Avi Moshenberg
                                   on behalf of Creditor Neil Heslin et al. avi.moshenberg@mhllp.com, ana.sanchez@mhllp.com
                        Case 22-60043 Document                    Filed in TXSB on 05/05/22 Page 3 of 3
District/off: 0541-6                                          User: ADIuser                                                            Page 2 of 2
Date Rcvd: May 03, 2022                                       Form ID: pdf002                                                         Total Noticed: 7
Clifford Hugh Walston
                            on behalf of Creditor Neil Heslin et al. cliff@wbctrial.com, claudia@wbctrial.com;brittany@wbctrial.com

Ha Minh Nguyen
                            on behalf of U.S. Trustee US Trustee ha.nguyen@usdoj.gov

Jayson B. Ruff
                            on behalf of U.S. Trustee US Trustee jayson.b.ruff@usdoj.gov

Jon Maxwell Beatty
                            on behalf of Creditor Neil Heslin et al. max@beattypc.com,
                            1652348420@filings.docketbird.com,7671921420@filings.docketbird.com

Kyung Shik Lee
                            on behalf of Debtor Prison Planet TV LLC klee@parkinslee.com, Courtnotices@kasowitz.com

Kyung Shik Lee
                            on behalf of Debtor InfoW LLC klee@parkinslee.com, Courtnotices@kasowitz.com

Kyung Shik Lee
                            on behalf of Debtor IWHealth LLC klee@parkinslee.com, Courtnotices@kasowitz.com

Melissa A Haselden
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                            haseldenbankruptcytrustee@gmail.com;mhaselden@ecf.axosfs.com;haselden.melissaa.r104367@notify.bestcase.com

R. J. Shannon
                            on behalf of Debtor IWHealth LLC rshannon@parkinslee.com,
                            rjshanno@icloud.com;arobles@parkinslee.com;arodriguez@parkinslee.com;5460230420@filings.docketbird.com

R. J. Shannon
                            on behalf of Debtor InfoW LLC rshannon@parkinslee.com,
                            rjshanno@icloud.com;arobles@parkinslee.com;arodriguez@parkinslee.com;5460230420@filings.docketbird.com

R. J. Shannon
                            on behalf of Debtor Prison Planet TV LLC rshannon@parkinslee.com,
                            rjshanno@icloud.com;arobles@parkinslee.com;arodriguez@parkinslee.com;5460230420@filings.docketbird.com

Randy W Williams
                            on behalf of Creditor David Wheeler et al. rww@bymanlaw.com, rww.trustee1@gmail.com;Bymanassociatespllc@jubileebk.net

Raymond William Battaglia
                            on behalf of Interested Party Ray W. Battaglia rbattaglialaw@outlook.com

Ryan E Chapple
                            on behalf of Creditor David Wheeler et al. rchapple@cstrial.com, aprentice@cstrial.com

Shelby A Jordan
                            on behalf of Interested Party Shelby A Jordan cmadden@jhwclaw.com

US Trustee
                            USTPRegion07.HU.ECF@USDOJ.GOV


TOTAL: 17
